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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

DEBORAH LAUFER,

       Plaintiff,

vs.                                                   Civil No.: 1:20-cv-01531-ABJ

HARVEST ADVERTISING AGENCY,
INC.,

       Defendant.

                 MEMORANDUM OF POINTS AND AUTHORITIES
          IN SUPPORT OF MOTION TO DISMISS FOR LACK OF STANDING

       Defendant, Harvest Adverting Agency, Inc., by and through undersigned counsel, moves

to dismiss the Complaint filed by Plaintiff, Deborah Laufer, because Plaintiff lacks standing to

pursue this lawsuit against this Defendant and, therefore, this Court lacks jurisdiction to hear the

case. Fed. R. Civ. P. 12(b)(1).

       Plaintiff is a serial plaintiff who, according to an article by the law firm of Seyfarth Shaw,

LLP, has filed over 250 similar lawsuits since May of 2019. (Exhibit 1.) In a different article,

from April 21, 2020, the firm of Barclay Damon said, among other things:

       Deborah Laufer has now filed over 200 federal lawsuits in New York, Florida, Georgia,
       Massachusetts, and Connecticut against hotels, motels, and other places of lodging since
       October 2019. The lawsuits allege that the online reservation system for each property-
       whether directly operated by the defendant or indirectly operated through third-party
       websites (e.g., Expedia, Orbits, Hotels.com)-is inaccessible to Laufer and otherwise fails
       to provide certain information concerning accessible features of the property in violation
       of, among other laws, the Americans With Disabilities Act (ADA).

(Exhibit 2.)

       Indeed, Plaintiff recently filed four other substantially identical lawsuits in this Court:

Deborah Laufer v. Jetset Hospitality, LLC, 1:20-cv-1192 (EGS); Deborah Laufer v. Georgetown




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Mews Assoc. L.P., 1:20-cv-1193 (RCL); Deborah Laufer v. Georgetown Washington DC Inn

LLC, 1:20-cv-1194(RCL); Deborah Laufer v. 29th & K Assoc., 1:20-cv-1508 (KBJ).

        Plaintiff is a resident of Florida. Complaint, ¶1. The Complaint in this case was filed on

or about June 10, 2020. The pandemic associated with the Coronavirus has been raging for

several months, with many businesses shuttered, and travel has been significantly reduced. The

Complaint in this case does not contain a single allegation that Plaintiff desires or intends to visit

or book accommodations at the Windsor Park Hotel named in her lawsuit, that she is even

interested in doing so, or that she is even interested in visiting the greater District of Columbia

area. Plaintiff has not, and indeed cannot, allege that any shortcomings in the websites that she

describes resulted in any loss or injury to her. Therefore, Plaintiff has no standing to pursue this

lawsuit, and the Complaint must be dismissed.

        The United States Court of Appeals for the Fourth Circuit concluded in a case that is

factually similar to this case that a plaintiff suing for ADA violations related to credit union

websites lacks standing to sue absent a demonstration of sustaining actual damages. In Griffin v.

Department of Labor Federal Credit Union, 912 F.3d 649 (4th Cir. 2019), the Circuit Court

upheld the lower court’s decision dismissing the suit for lack of standing. The Fourth Circuit

held:

        An injury in fact is an indispensable aspect of constitutional standing; no “Case” or
        “Controvers[y]” exists without injury. It is “[f]irst and foremost” of the three
        requirements of constitutional standing. Spokeo, 136 S.Ct. at 1547 (quoting Steel
        Co. v. Citizens for Better Environment, 523 U.S. 83, 103, 118 S.Ct. 1003, 140
        L.Ed.2d 210 (1998) ) (describing the other two requirements as causation and
        redressability). A wrong suffered by a party is only an injury in fact if it is
        sufficiently “concrete and particularized.” Id. at 1545 (quoting Friends of the
        Earth, Inc. v. Laidlaw Environmental Services (TOC), Inc., 528 U.S. 167, 180-81,
        120 S.Ct. 693, 145 L.Ed.2d 610 (2000) ) (emphasis in original). These are separate
        criteria which must both be satisfied. Id. And when a party seeks injunctive relief,
        as Griffin does, there is the additional requirement of a “real or immediate threat”




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       that the party will suffer an injury in the future. City of Los Angeles v. Lyons, 461
       U.S. 95, 111, 103 S.Ct. 1660, 75 L.Ed.2d 675 (1983).

       The United States District Court for the Northern District of New York recently

considered this very question in a case that this same Plaintiff, Deborah Laufer, filed in that

court. In Laufer v. Laxmi & Sons, 2020 WL 2200207, 1:19-cv-01501 (BKS/ML) (May 6, 2020)

(copy attached), the Court sua sponte examined the issue of whether Laufer had standing to

proceed. In its examination, the Northern District of New York said, among other things:

       “Article III, Section 2 of the Constitution limits the jurisdiction of the federal courts
       to the resolution of ‘cases’ and ‘controversies.’ To ensure that this bedrock case-
       or-controversy requirement is met, courts require that plaintiffs establish their
       standing as the proper parties to bring suit.’ ” Sonterra Capital Master Fund Ltd. v.
       UBS AG, 954 F.3d 529, 533–34 (2d Cir. 2020) (quoting Langan v. Johnson &
       Johnson Consumer Cos., 897 F.3d 88, 92 (2d Cir. 2018)). To establish standing a
       plaintiff must demonstrate (1) an “injury in fact” that is “concrete and
       particularized” and “actual or imminent, not conjectural or hypothetical,” (2) “a
       causal connection between the injury and the conduct complaint of,” and (3)
       redressability of the injury by a favorable decision. Lujan v. Defs. of Wildlife, 504
       U.S. 555, 560–65, 112 S.Ct. 2130, 119 L.Ed.2d 351 (1992). Where “a case is at the
       pleading stage, the plaintiff must ‘clearly ... allege facts demonstrating’ each
       element.”

                                                ***

       To have standing to seek injunctive relief Plaintiff has the burden of establishing
       that she “has sustained or is immediately in danger of sustaining some direct injury
       as the result of the challenged ... conduct.” City of Los Angeles v. Lyons, 461 U.S.
       95, 101–02, 103 S.Ct. 1660, 75 L.Ed.2d 675 (1983) (internal quotation marks and
       citation omitted); see Kreisler v. Second Ave. Diner Corp., 731 F.3d 184, 187 (2d
       Cir. 2013) (“Plaintiffs seeking injunctive relief must also prove that the identified
       injury in fact presents a ‘real and immediate threat of repeated injury.’ ”) (quoting
       Shain v. Ellison, 356 F.3d 211, 215 (2d Cir. 2004)).

                                                ***

       There are no facts in the Complaint or Plaintiff’s affidavit indicating that she has
       ever traveled to Rensselaer, New York, or anywhere in New York, or that she has
       any reason to travel anywhere in New York or any reason to seek lodging anywhere
       in New York. Plaintiff alleges that she is a “tester” for the ADA. (Dkt. No. 1, ¶ 2).
       However, her status as a “tester” does not appear to be sufficient to establish subject
       matter jurisdiction in this action. See Greenwich Hosp., 536 F. App’x at 155



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       (finding the plaintiff’s “assertion that he visits public accommodations as an ADA
       ‘tester’ ” failed to establish standing as it lacked “the requisite link to Stamford,
       Connecticut”—the location of the defendant’s Hampton Inn); see also Griffin v.
       Dep’t of Labor Fed. Credit Union, 912 F.3d 649, 656 (4th Cir. 2019) (holding that
       a plaintiff who was ineligible to be a member of a credit union failed to establish
       standing to bring an ADA claim concerning its website because tester status
       “cannot create standing in the absence of an otherwise plausible assertion that a
       return to the website would allow [the plaintiff] to avail himself of its services”).

                                                ***

       In light of all of the above, the Court questions whether the Plaintiff has established
       standing . . ..

Id.
       The Court ordered Laufer to file a memorandum supporting any contention that she had

standing to press her claims. It appears that a memorandum was filed on or about May 28, 2020,

but no further rulings from the Court appear on Pacer.

       In a substantially similar case filed by Laufer, the Northern District of New York said,

“There appears to be a serious question as to whether Plaintiff has established standing, in this,

or any of her other cases, and thus whether the Court has subject matter jurisdiction over these

actions.” Laufer v. 1110 Western Albany, LLC, 2020 WL 2309083, 1:19-cv-01324 (BKS/ML)

(May 8, 2020) (copy attached). The Court also ordered Laufer to submit a memorandum in that

case explaining why she had standing. Pacer reflects that that case was voluntarily dismissed,

apparently following a settlement, without the filing of any such memorandum.

       The pronouncements of these United States courts apply directly to the claims advanced

by Plaintiff in this instant lawsuit. Nothing in the Complaint even hints that Plaintiff has

sustained any injury in connection with the websites in question. Indeed, given that she has

apparently filed 250 similar lawsuits, including five in this Court alone, it is manifest that

Plaintiff has no intention of visiting the Windsor Park Hotel named in the Complaint and that she

cannot, therefore, sustain any injury related to the Hotel’s website.



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        For all of these reasons, the Complaint must be dismissed for lack of standing and lack of

jurisdiction.

                                      Respectfully submitted,

                                      BREGMAN, BERBERT, SCHWARTZ & GILDAY, LLC

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